                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )        NO. 3:12-00206
                                                )        JUDGE CAMPBELL
BRANDON M. ELLEDGE                              )


                                               ORDER


         Pending before the Court is a Motion of Defendant Elledge to Review the Detention

Order (Docket No. 61) orally announced by Magistrate Judge Griffin on December 14, 2012.

         Judge Griffin has not filed a written Order of Detention that can be reviewed.

Accordingly, this case is REFERRED to Judge Griffin with instructions to promptly enter a

written order stating the factual and legal reasons for detention.

         The parties shall have seven (7) days after the written order is entered to file further

briefs regarding the Motion to Review the Detention Order (Docket No.61).

         IT IS SO ORDERED.



                                                         __________________________________
                                                         TODD J. CAMPBELL
                                                         UNITED STATES DISTRICT JUDGE




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